g/29/2020Case 4:20-cv-00199-TWP-DML Document 1stmnfeleayeg4s0/20 Page 1 of 20 PagelD #: 4

This is not the official court record. Official records of court proceedings may only be obtained directly from
the court maintaining a particular record.

Karen Deaton v.L & S Family Entertainment, LLC

Case Number 10C02-2008-CT-000115
Court Clark Circuit Court 2
Type CT - Civil Tort
Filed 08/28/2020
Status 08/28/2020 , Pending (active)
Parties to the Case
Defendant L & S Family Entertainment, LLC
Attorney
Keith A Gaston

#706949, Lead, Retained

CRUSER MITCHELL NOVITZ SANCHEZ GASTON & ZIMET LLP
3077 East 98th Street

Suite 280

Indianapolis, IN 46280

317-816-0300(W)

Attorney
Bruce D. Jones
#2862429, Retained

Cruser, Mitchell, Novitz, Sanchez, Gaston & Zimet, LLP
3077 East 98th Street

Suite 280

Indianapolis, IN 46280

317-816-0300(W)

Attorney
Bradley Michael Owen
#3271132, Retained

 

Cruser, Mitchell, Novitz, Sanchez, Gaston & Zimet, LLP
3077 E 98th Street, Suite 280

Indianapolis, IN 46280

317-816-0300(W)

Attorney
Rachel O. Webster
#3425149, Retained

Cruser Mitchell Novitz Sanchez Gaston & Zimet, LLP
3077 E. 98th St.

Suite 280

Indianapolis, IN 46280

317-816-0300(W) EXHIBIT
Plaintiff Deaton, Karen i oN

a

https://public.courts.in.gov/mycase/#/vw/CaseSummary/eyJ2|jp7IkKNhc2VUb2tIbil6ljhYeF EweGx1WkZvWmRyR3packVVa2plTOJieXotRnhEZjN3QWxD... 1/3
g/29/2020C ase 4:20-cv-00199-TWP-DML Document 1-Shimrrakedig@Qss0/20 Page 2 of 20 PagelD #: 5

Attorney
Brandon W. Smith
#2816522, Retained

Morgan & Morgan

426 Bank Street, Suite 300
New Albany, IN 47150
812-670-3313(W)

Chronological Case Summary
08/28/2020 Case Opened as a New Filing

08/28/2020 Appearance Filed
Appearance of Brandon Smith for Karen Deaton

For Party: Deaton, Karen
File Stamp: 08/28/2020

08/28/2020 Complaint/Equivalent Pleading Filed

Complaint

Filed By: Deaton, Karen

File Stamp: 08/28/2020
08/28/2020 Subpoena/Summons Filed

Summons to Capitol Corporate Services, Inc

Filed By: Deaton, Karen

File Stamp: 08/28/2020

08/28/2020 Jury Trial Demand Filed
Filed By: Deaton, Karen
File Stamp: 08/28/2020
09/28/2020 Notice Filed
Notice of Proof of Service
Filed By: Deaton, Karen
File Stamp: 09/28/2020

09/28/2020 Appearance Filed
Appearance of Keith Gaston, Bruce Jones, Bradley Owen & Rachel Webster for L&S Family Entertainment, LLC

For Party: L &S Family Entertainment, LLC
File Stamp: 09/28/2020
Financial Information

* Financial Balances reflected are current representations of transactions processed by the Clerk’s Office. Please note that any
balance due does not reflect interest that has accrued - if applicable - since the last payment. For questions/concerns regarding
balances shown, please contact the Clerk's Office.

Deaton, Karen
Plaintiff

Balance Due (as of 09/29/2020)
0.00

Charge Summary
Description Amount Credit Payment
https://public.courts.in.gov/mycase/#/vw/CaseSummary/eyJ2|jp7IkNhc2VUb2tIbil6ljhYeFEweGx1WkZvWmRyR3packVVa2plT OJieXotRahEZjN3QWxD... 2/3

 

 
g/29/2020C ase 4:20-cv-00199-TWP-DML Document 1sbmrakedh@ass0/20 Page 3 of 20 PagelD #: 6

 

Description Amount Credit Payment

 

 

Court Costs and Filing Fees 157.00 0.00 157.00

 

 

Transaction Summary

 

 

 

 

 

Date Description Amount
08/28/2020 Transaction Assessment 157.00
08/28/2020 Electronic Payment (157,00)

 

 

 

This is not the official court record. Official records of court proceedings may only be obtained directly from
the court maintaining a particular record.

https://public.courts.in.gov/mycase/#/vw/CaseSummary/eyJ2|jp7IkNhc2VUb2tIbil6ljnYeFEweGx1WkZvWmRyR3packVVa2plTOJiexotRnhEZjNSQWxD...

3/3
Case 4:20-cv-00199-TWP-DML Document 1-1 Filed 09/30/20 Page 4 of 20 PagelD #: 7

10C02-2008-CT-00011 5 Filed: 8/28/2020 11:29 AM
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Clark Circuit Court 2 Clark County, fadiane
STATE OF INDIANA ) CLARK COUNTY CIRCUIT COURT
) Ss:
COUNTY OF CLARK ) CAUSE NO.:

KAREN DEATON
Plaintiff,
Vv.
L&S FAMILY ENTERTAINMENT, LLC
Serve Registered Agent:
Capitol Corporate Services, Inc.

9221 Crawfordsville Rd.
Indianapolis, IN 46234

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Defendant
APPEARANCE BY ATTORNEY IN CIVIL CASE
This Appearance Form must be filed on behalf of every party in a civil case.

1. The party on whose behalf this form is being filed is:
Initiating X Responding Intervening ; and

the undersigned attorney and all attorneys listed on this form now appear in this
case for the following parties:

Name of party Karen Deaton, Plaintiff

Address of party (see Question # 6 below if this case involves a protection from
abuse order, a workplace violence restraining order, or a no-contact order)

 

 

Telephone # of party

 

FAX:

 

Email Address:

 

(List on a continuation page additional parties this attorney represents in
this case.)

Page 1 of 3
Case 4:20-cv-00199-TWP-DML Document 1-1 Filed 09/30/20 Page 5 of 20 PagelD #: 8

2. Attorney information for service as required by Trial Rule 5(B)(2)

Name: Brandon W. Smith Atty Number: #28165-22
Address: Morgan & Morgan, 426 Bank Street, Suite 300, New Albany, IN 47150

Phone: (812) 670-3313
FAX: (812) 850-6875

Email Address: brandonsmith@forthepeople.com

(List on continuation page additional attorneys appearing for above party)
3. This is a CT case type as defined in administrative Rule 8(B)(3).

4. | will accept service from other parties by:

FAX at the above noted number: Yes No X
Email at the above noted number: Yes NoX
5. This case involves child support issues. Yes No X (lf yes, supply social

security numbers for all family members on a separately attached document filed
as confidential information on light green paper. Use Form TCM-TR3. 1-4.)

6. This case involves a protection from abuse order, a workplace violence
restraining order, or ano—contactorder. Yes___—_— No X (If Yes, the initiating
party must provide an address for the purpose of legal service but that address
should not be one that exposes the whereabouts of a petitioner.) The party shall
use the following address for purposes of legal service:

Attorney's address
The Attorney General Confidentiality program address
(contact the Attorney General at 1-800-321-1907 or e-mail

 

address is
confidential@atg.in.gov).
Another address (provide)
7. This case involves a petition for involuntary commitment. Yes NoX

8. If Yes above, provide the following regarding the individual subject to the petition
for involuntary commitment:

Page 2 of 3
Case 4:20-cv-00199-TWP-DML Document 1-1 Filed 09/30/20 Page 6 of 20 PagelD #: 9

a. Name of the individual subject to the petition for involuntary commitment if it is
not already provided in #1 above:

 

b. State of Residence of person subject to petition:

c. At least one of the following pieces of identifying information:

(i)
(ii)

(iii)

(iv)
(v)

Date of Birth

Driver’s License Number

 

State where issued Expiration date
State ID number

 

State where issued Expiration date
FBI number

 

Indiana Department of Corrections Number

 

(vi)

Social Security Number is available and is being provided in an
attached confidential document Yes No

9. There are related cases: Yes No X (If yes, list on continuation page.)

10. Additional information required by local rule:

 

11.There are other party members: Yes No X (If yes, list on continuation
page.)
12. This form has been served on all other parties and Certificate of Service is
attached:

Yes Nox

s/ Brandon W. Smith

Brandon W. Smith #28165-22
Morgan & Morgan

426 Bank Street, Suite 300

New Albany, IN 47150
812-670-3313 (t)

812-850-6875 (f)
brandonsmith@forthepeople.com
Counsel for Plaintiff

Page 3 of 3
Case 4:20-cv-00199-TWP-DML Document 1-1 Filed 09/30/20 Page 7 of 20 PagelD #: 10

10C02-2008-CT-000115 Filed: 8/28/2020 11:29 AM
Clark Circuit Court 2 Clark County, tidiere
STATE OF INDIANA ) CLARK COUNTY CIRCUIT COURT
) SS:
COUNTY OF CLARK ) CAUSE NO.:

KAREN DEATON
Plaintiff,
Vv.
L & S FAMILY ENTERTAINMENT, LLC
Serve Registered Agent:
Capitol Corporate Services, Inc.

9221 Crawfordsville Rd.
Indianapolis, IN 46234

 

Se i ee et

Defendant
COMPLAINT AND JURY DEMAND

Plaintiff, Karen Deaton, by counsel, states as follows for her Complaint:

1. At all relevant times, Plaintiff Karen Deaton permanently resided and was
domiciled in Clark County, Indiana.

2. At all relevant times, Defendant L & S Family Entertainment was a
Tennessee for-profit limited liability company with a principle office located in
Hendersonville, Tennessee, that owned, controlled, operated, and maintained an
entertainment center known as “Strike & Spare” located at 511 Little League Blvd Ste
100, Clarksville, IN, 47129, through its owners, managers, employees, agents and
assigns.

3. This lawsuit alleges a tort injury that occurred in Clark County, Indiana,

making this Court a proper and preferred venue to hear the action.

Page 1 of 3
Case 4:20-cv-00199-TWP-DML Document 1-1 Filed 09/30/20 Page 8 of 20 PagelD #: 11

4. On or about the morning of March 14, 2020, Karen Deaton was a
business invitee at Clarksville Strike & Spare using the roller skating rink.

OB: Ms. Deaton was an experienced roller skater, and, at all relevant times,
was skating within her range and ability, maintaining reasonable control of her speed
and course, heeding all posted signs and warnings, maintaining a proper view, and
otherwise skating in a reasonably safe manner exercising due care for her safety.

6. At all relevant times, in addition to common-law duties, Defendant, as an
operator of a roller skating rink, owed Plaintiff duties pursuant to |.C. § 34-31-6-2,
including (but not limited to) to maintain the skating surface in a proper and reasonably
safe condition and to clean and inspect the skating surface before each skating session.

Ds Known to Defendant but unknown to Ms. Deaton, Defendant had
negligently and carelessly failed to clean the skating floor prior to opening, leaving trash
and debris on the floor from the previous evening.

8. As a direct and proximate result of Defendant’s negligence and breach of
statutory duties, Ms. Deaton’s skate struck an object on the floor, causing her to fall and
sustain serious bodily injury.

9. As a direct and proximate result of her bodily injury, Plaintiff has and/or will
incur in the future the following damages: medical bills and expenses, loss of income,
pain, suffering, and inconvenience, and permanent impairment.

WHEREFORE, Plaintiff demands judgment in her favor against Defendant and
compensatory damages, as shown by evidence, for the following: past and future
medical and related expenses, past and future pain, suffering, inconvenience, loss of

income, and permanent impairment.

Page 2 of 3
Case 4:20-cv-00199-TWP-DML Document 1-1 Filed 09/30/20 Page 9 of 20 PagelD #: 12

Plaintiff further demands TRIAL BY JURY, judgment interest (where allowed by
law), costs and expenses (where allowed by law), and any other relief the Court
believes just and proper.

s/ Brandon W. Smith

Brandon W. Smith #28165-22
Morgan & Morgan

426 Bank St. STE 300

New Albany, IN 47150
812-670-3313 (t)

812-850-6875 (f)
brandonsmith@forthepeople.com
Counsel for Plaintiff

JURY DEMAND
Pursuant to TR 38(B), Plaintiff demands trial by jury on all triable issues.

s/ Brandon W. Smith
Counsel for Plaintiff

Page 3 of 3
Case 4:20-cv-00199-TWP-DML Document 1-1 Filed 09/30/20 Page 10 of 20 PagelD #: 13

10C02-2008-CT-000115 Filed: 8/28/2020 11:29 AM
Clark Circuit Court 2 Clark County, aan
STATE OF INDIANA ) CLARK COUNTY CIRCUIT COURT
) Ss:
COUNTY OF CLARK ) CAUSE NO.:

KAREN DEATON
Plaintiff,
V.
L & S FAMILY ENTERTAINMENT, LLC
Serve Registered Agent:
Capitol Corporate Services, Inc.

9221 Crawfordsville Rd.
Indianapolis, IN 46234

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Defendant
SUMMONS
THE STATE OF INDIANA TO: Capitol Corporate Services, Inc.

9221 Crawfordsville Rd.
Indianapolis, IN 46234

You have been sued by the Plaintiff in the Court stated above.

The nature of the suit against you is stated in the complaint, which is attached to
this summons. It also states the demand, which the Plaintiff has made against you.

You or your attorney must answer the petition in writing and your written answer
must be filed with the Court within twenty (20) days after you receive this summons or
within twenty-three (23) days if you received this summons by mail, or a judgment will be
entered against you for what the Plaintiff has demanded in the attached petition.

If you deny the demand, or if you have a claim against the Plaintiff, you must assert
it in your written answer.

It is suggested that you immediately consult an attorney of your choice regarding
this matter.

The following manner of service of summons is hereby designated:

CERTIFIED MAIL

Page 1 of 2
Case 4:20-cv-00199-TWP-DML Document 1-1 Filed 09/30/20 Page 11 of 20 PagelD #: 14

Dated: 8/28/2075 —~ Ao
Lx, COUNTY SS ZL nih Dp

JERK, CLARRBIRCUIT COURT -

 

Page 2 of 2
Case 4:20-cv-00199-TWP-DML Document 1-1 Filed 09/30/20 Page 12 of 20 PagelD #: 15

10C02-2008-CT-000115 Filed: 8/28/2020 11:29 AM
Clark Circuit Court 2 Clark County, sities
STATE OF INDIANA ) CLARK COUNTY CIRCUIT COURT
) SS:
COUNTY OF CLARK ) CAUSE NO.:

KAREN DEATON
Plaintiff,
V.
L & S FAMILY ENTERTAINMENT, LLC
Serve Registered Agent:
Capitol Corporate Services, Inc.

9221 Crawfordsville Rd.
Indianapolis, IN 46234

Se ee a Se Ne ee ee ee ee

Defendant
COMPLAINT AND JURY DEMAND

Plaintiff, Karen Deaton, by counsel, states as follows for her Complaint:

1. At all relevant times, Plaintiff Karen Deaton permanently resided and was
domiciled in Clark County, Indiana.

ie: At all relevant times, Defendant L & S Family Entertainment was a
Tennessee for-profit limited liability company with a principle office located in
Hendersonville, Tennessee, that owned, controlled, operated, and maintained an
entertainment center known as “Strike & Spare” located at 511 Little League Blvd Ste
100, Clarksville, IN, 47129, through its owners, managers, employees, agents and
assigns.

3. This lawsuit alleges a tort injury that occurred in Clark County, Indiana,

making this Court a proper and preferred venue to hear the action.

Page 1 of 3
Case 4:20-cv-00199-TWP-DML Document 1-1 Filed 09/30/20 Page 13 of 20 PagelD #: 16

4. On or about the morning of March 14, 2020, Karen Deaton was a
business invitee at Clarksville Strike & Spare using the roller skating rink.

5. Ms. Deaton was an experienced roller skater, and, at all relevant times,
was skating within her range and ability, maintaining reasonable control of her speed
and course, heeding all posted signs and warnings, maintaining a proper view, and
otherwise skating in a reasonably safe manner exercising due care for her safety.

6. At all relevant times, in addition to common-law duties, Defendant, as an
operator of a roller skating rink, owed Plaintiff duties pursuant to 1.C. § 34-31-6-2,
including (but not limited to) to maintain the skating surface in a proper and reasonably
safe condition and to clean and inspect the skating surface before each skating session.

7. Known to Defendant but unknown to Ms. Deaton, Defendant had
negligently and carelessly failed to clean the skating floor prior to opening, leaving trash
and debris on the floor from the previous evening.

8. As a direct and proximate result of Defendant’s negligence and breach of
statutory duties, Ms. Deaton’s skate struck an object on the floor, causing her to fall and
sustain serious bodily injury.

D. As a direct and proximate result of her bodily injury, Plaintiff has and/or will
incur in the future the following damages: medical bills and expenses, loss of income,
pain, suffering, and inconvenience, and permanent impairment.

WHEREFORE, Plaintiff demands judgment in her favor against Defendant and
compensatory damages, as shown by evidence, for the following: past and future
medical and related expenses, past and future pain, suffering, inconvenience, loss of

income, and permanent impairment.

Page 2 of 3
Case 4:20-cv-00199-TWP-DML Document 1-1 Filed 09/30/20 Page 14 of 20 PagelD #: 17

Plaintiff further demands TRIAL BY JURY, judgment interest (where allowed by
law), costs and expenses (where allowed by law), and any other relief the Court

believes just and proper.

s/ Brandon W. Smith

Brandon W. Smith #28165-22
Morgan & Morgan

426 Bank St. STE 300

New Albany, IN 47150
812-670-3313 (t)

812-850-6875 (f)
brandonsmith@forthepeople.com
Counsel for Plaintiff

JURY DEMAND
Pursuant to TR 38(B), Plaintiff demands trial by jury on all triable issues.

s/ Brandon W. Smith
Counsel for Plaintiff

Page 3 of 3
Case 4:20-cv-00199-TWP-DML Document 1-1 Filed 09/30/20 Page 15 of 20 PagelD #: 18

Filed: 9/28/2020 3:23 PM
Clerk
Clark County, Indiana

STATE OF INDIANA _ ) CLARK COUNTY CIRCUIT COURT
) SS:
COUNTY OF CLARK _ ) CAUSE NO. 10C02-2008-CT-000115

KAREN DEATON
Plaintiff,
Vv.

L& S FAMILY ENTERTAINMEN, LLC

mee ee ee es

Defendant

NOTICE OF PROOF OF SERVICE

Plaintiff, by counsel, hereby gives notice that a copy of the Summons, Complaint,
and Appearance were served upon Defendant in this case, listed below, by Certified
Mail Return Receipt Requested on September 1, 2020, with signed green card received
on or before September 10, 2020.
Capitol Corporate Services, Inc.
9221 Crawfordsville Road
Indianapolis, IN 46234

The signed green cards is attached to this Notice as Exhibit A.

Respectfully submitted,

S/ Brandon W. Smith

Brandon W. Smith, #28165-22
MORGAN & MORGAN

426 Bank Street, Suite 300

New Albany, IN 47150

(812) 670-3313 (t)
brandonsmith@forthepeople.com
Counsel for Plaintiff

Page 1 of 2
Case 4:20-cv-00199-TWP-DML Document 1-1 Filed 09/30/20 Page 16 of 20 PagelD #: 19

CERTIFICATE OF SERVICE
| certify that a true and accurate copy of the foregoing was electronically filed via the
Court's E-Filing System and serve via United States mail, postage prepaid on
September 28, 2020 to the following:
Capitol Corporate Services, Inc.
9221 Crawfordsville Road
Indianapolis, IN 46234

s/ Brandon W. Smith
Counsel for Plaintiff

Page 2 of 2
 

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Case 4:20-cv-00199-TWP-DML Document 1-1 Filed 09/30/20 Page 18 of 20 PagelD #: 21

STATE OF INDIANA )
) SS:
COUNTY OF CLARK )
KAREN DEATON,
Plaintiff,
Vv.

L&S FAMILY ENTERTAINMENT, LLC,

Defendant.

Filed: 9/28/2020 3:17 PM
Clerk
Clark County, Indiana

IN THE CLARK CIRCUIT COURT

CAUSE NO. 10C02-2008-CT-000115

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E-FILING APPEARANCE BY ATTORNEY IN CIVIL CASE

Party Classification: Initiating Responding X__Intervening

1. The undersigned attorney and all attorneys listed on this form now appear in this case for the

following party member(s):

DEFENDANT, L&S Family Entertainment, LLC

2. Applicable attorney information for service as required by Trial Rule 5(B)(2) and for case
information as required by Trial Rules 3.1 and 77(B) is as follows:

Name: Keith A. Gaston, Esq.

Atty. Number: 7069-49

 

Name: Bruce D. Jones, Esq.
Name: Bradley M. Owen, Esa.

Atty. Number: 28624-29

 

Name: Rachel O. Webster, Esq.
Address: Cruser, Mitchell, Novitz,

Atty. Number: 3271 1-32
Atty. Number: 34251-49

Phone:_(317) 816-0300

 

Sanchez, Gaston & Zimet, LLP
3077 E. 98" Street, Suite 280
Indianapolis, IN 46280

 

FAX:_(317) 816-1604
E-Mail: kgaston@cmlawfirm.com
bjones@cmlawfirm.com

 

bowen@cmlawfirm.com
rwebster@cmlawfirm.com

IMPORTANT: Each attorney specified on this appearance:

(a) certifies that the contact information listed for him/her on the Indiana Supreme
Court Roll of Attorneys is current and accurate as of the date of this
Appearance;

(b) acknowledges that all orders, opinions, and notices from the court in this

matter that are served under Trial Rule 86(G) will be sent to the attorney at
the email address(es) specified by the attorney on the Roll of Attorneys
regardless of the contact information listed above for the attorney; and

(c) understands that he/she is solely responsible for keeping his/her Roll of

{Firm/30059/0008 1/02745021.DOCX }
Case 4:20-cv-00199-TWP-DML Document 1-1 Filed 09/30/20 Page 19 of 20 PagelD #: 22

Attorneys contact information current and accurate, see Ind. Admis. Disc. R.
2(A).

3; This is a CT case type as defined in Administrative Rule 8(B)(3).

4. This case involves child support issues. Yes_No_X
5. There are other party members: Yes_ No_X
6. This case involves support issues. Yes__No_X
Ls There are related cases: Yes__No_X
8. This form has been served on all other parties. Certificate of Service is attached: Yes_ No_X_
9. Additional information required by local rule:
Respectfully submitted,

CRUSER, MITCHELL, NOVITZ, SANCHEZ,
GASTON & ZIMET, LLP

/s/ Keith A. Gaston, Esq.
Keith A. Gaston, Esq., #7069-49

/s/ Bruce D. Jones, Esa.
Bruce D. Jones, Esq., #28624-29

/s/ Bradley M. Owen, Esa.
Bradley M. Owen, Esq., #32711-32

 

/s/ Rachel O. Webster, Esq.
Rachel O. Webster, Esq., #34251-49

Counsel for Defendant,
L&S Family Entertainment, LLC

{Firm/30059/00081/02745021.DOCX }
Case 4:20-cv-00199-TWP-DML Document 1-1 Filed 09/30/20 Page 20 of 20 PagelD #: 23

CRUSER, MITCHELL, NOVITZ, SANCHEZ,
GASTON & ZIMET, LLP

3077 E. 98" Street, Suite 280
Indianapolis, IN 46280

(317) 816 0300

(317) 816 1604 (fax)

CERTIFICATE OF SERVICE

I certify that on September 28, 2020, I electronically filed the foregoing document using
the Indiana E-Filing System (IEFS).

I also certify that on September 28, 2020, the foregoing document was served upon the
following person via IEFS.

Brandon W. Smith, Esq.
MORGAN & MORGAN

426 Bank Street, Suite 300
New Albany, IN 47150

/s/ Bradley M. Owen, Esq.

 

{Firm/30059/0008 1/02745021.DOCX }
